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                             United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION


    ADVOCARE INTERNATIONAL, LP                      §
                                                    §
    v.                                              §   Civil Action No. 4:17-CV-00194
                                                    §   Judge Mazzant
    MODERE, INC., AMBER DELOOF, and                 §
    JESSIE LEE WARD                                 §

                                               ORDER

.          Pending before the Court is Plaintiff’s Motion for Expedited Jurisdictional Discovery and

    to Continue Response Deadline to Individual Defendants’ Motion to Dismiss (Dkt. #22).

    Defendants are hereby ORDERED to file an expedited response to this Motion by Thursday,

    August 17, 2017.

          SIGNED this 15th day of August, 2017.




                                       ___________________________________
                                       AMOS L. MAZZANT
                                       UNITED STATES DISTRICT JUDGE
